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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ROME DIVISION

 UNITED STATES OF AMERICA,

                                                  CRIMINAL ACTION NO.
       v.                                         4:17-CR-00039-06-JPB
 MICHAEL KENT,

             Defendant.


 ORDER ADOPTING NON-FINAL REPORT AND RECOMMENDATION
        REGARDING COMPETENCY OF MICHAEL KENT

      This matter comes before the Court on the Magistrate Judge’s Non-Final

Report and Recommendation Regarding Competency of Michael Kent [Doc. 316].

The Magistrate Judge recommended finding Defendant competent to stand trial.

This Court finds as follows:

      Absent objection, a district judge has broad discretion to accept, reject or

modify a magistrate judge’s proposed findings and recommendations. United

States v. Raddatz, 447 U.S. 667, 680 (1980). Because no objections have been

filed, and in accordance with 28 U.S.C. § 636(b)(1) and Local Criminal Rule

59(2), the Court has reviewed the Non-Final Report and Recommendation for clear

error and finds none.
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      Accordingly, the Court APPROVES AND ADOPTS the Non-Final Report

and Recommendation [Doc. 316] as the opinion of the Court and finds Defendant

competent to stand trial.

      SO ORDERED this 1st day of April, 2020.




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